COMPLAINT - EXHIBIT A - p.1
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 1 of 8
COMPLAINT - EXHIBIT A - p.2
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 2 of 8
COMPLAINT - EXHIBIT A - p.3
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 3 of 8
COMPLAINT - EXHIBIT A - p.4
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 4 of 8
COMPLAINT - EXHIBIT A - p.5
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 5 of 8
COMPLAINT - EXHIBIT A - p.6
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 6 of 8
COMPLAINT - EXHIBIT A - p.7
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 7 of 8
COMPLAINT - EXHIBIT A - p.8
Ocean Fisheries LLC v Northern Fiberglass & Urethane Foam, Inc.
         Case 3:14-cv-00069-HRH Document 1-1 Filed 04/09/14 Page 8 of 8
